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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 3:14cr98/MCR/CJK
                                                        3:17cv394/MCR/CJK

RODNEY D. BUTLER

                                           /

                                    ORDER

       This cause comes on for consideration upon the magistrate judge's Report and

Recommendation dated July 12, 2017. ECF No. 695. The parties have been furnished

a copy of the Report and Recommendation and have been afforded an opportunity to

file objections pursuant to Title 28, United States Code, Section 636(b)(1). I have

made a de novo determination of any timely filed objections.

       Having considered the Report and Recommendation, and any objections thereto

timely filed, I have determined that the Report and Recommendation should be

adopted.

       Accordingly, it is now ORDERED as follows:

       1.    The magistrate judge's Report and Recommendation is adopted and

incorporated by reference in this Order.
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       2.     Defendant’s “Motion to Withdraw the ‘Recharacterized’ § 2255 Motion,”

ECF No. 694, is GRANTED, and Defendant’s motion under 28 U.S.C. § 2255, as

construed from his Motion for Appointment of Counsel, ECF No. 692, is

DISMISSED without prejudice.

       DONE AND ORDERED this 15th day of August, 2017.




                                      s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     CHIEF UNITED STATES DISTRICT JUDGE




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